                Case 6:21-cv-06744-CJS                           Document 15   Filed 08/24/23             Page 1 of 1




Marisa F. Antonelli mantonelli@velaw.com
Tel +1.212.237.0151 Fax +1.917.849.5396




August 23, 2023

VIA CM/ECF

The Honorable Charles J. Siragusa
United States District Judge
Western District of New York
100 State Street, Room 127
Rochester, New York 14614


Re:       Lee v. Anderson et al, No. 6:21-cv-06744-CJS

Dear Judge Siragusa:

         We write to inform the Court that the filings made at docket entry numbers 8, 9, 10, 11, 12, and
13 in the above-captioned action were filed in this action in error. These filings relate to a separate action
pending before the Court and were inadvertently also filed in this action. We write to inform the Court
that it should disregard these filings, and, to avoid further confusion, we respectfully request that the Court
direct the Clerk to terminate docket entry numbers 8, 9, 10, 11, 12, and 13 in the above-captioned action.

          We sincerely apologize, and we are available to discuss should questions arise.



                                                                       Respectfully submitted,

                                                                       /s/ Marisa Antonelli

                                                                       Marisa Antonelli
                                                                       1114 Avenue of Americas
  The Motion to Strike (ECF No. 14) is granted. Docket entries 8-13,
                                                                       New York, NY 10036
  which were inadvertendly filed in this action by mistake, are        Telephone: (212) 237-0000
  stricken from the docket. SO ORDERED. August 24, 2023
                                                                       Facsimile: (212) 237-0100
                                                                       Email: mantonelli@velaw.com
  Charles J. Siragusa
  United States District Judge W.D.N.Y.




Vinson & Elkins LLP Attorneys at Law                                              The Grace Building, 1114 Avenue of the Americas, 32nd Floor
Austin Dallas Dubai Houston London Los Angeles                                    New York, NY 10036-7708
New York Richmond San Francisco Tokyo Washington                                  Tel +1.212.237.0000 Fax +1.212.237.0100 velaw.com
